     8:06-cr-00099-JFB-FG3        Doc # 22      Filed: 03/28/06      Page 1 of 2 - Page ID # 31


                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )           8:06CR99
                                                   )
                Plaintiff,                         )
                                                   )        ORDER
v.                                                 )   FOR THE PROGRESSION
                                                   )    OF A CRIMINAL CASE
JESUS TIRADO-MACIEL,                               )
                                                   )   CHIEF JUDGE BATAILLON
                Defendant.                         )

         Upon arraignment of Defendant this date and the entry of plea of not guilty,

IT IS ORDERED:

         1.     Trial of this case is set for 9:00 a.m. on Monday, May 22, 2006, or as soon
                thereafter as the case may be called;

         2.     By April 4, 2006, if a request be made, counsel shall confer and accomplish the
                automatic discovery provided for in Rule 16, Fed. R. Cr. P., and shall adhere to the
                continuing duty to disclose such matters pursuant to Rule 16(c), Fed. R. Cr. P.;

         3.     If after compliance with Rule 16 there is necessity for the filing of pretrial motions,
                they shall be filed by April 17, 2006, and that time limit will not be extended by the
                court except for good cause shown. In this connection, the United States Attorney
                shall disclose Brady v. Maryland (and its progeny) material as soon as practicable.
                Should the Defendant nonetheless file a motion for such disclosure, such motion
                shall state with specificity the material sought. In the event that any motions are
                filed seeking bills of particulars or discovery of facts, documents, or evidence, as
                part of the motion the moving party shall recite that counsel for the movant has
                conferred with opposing counsel regarding the subject of the motion in an attempt
                to reach agreement on the contested matters without the involvement of the court
                and that such attempts have been unsuccessful. The motion shall further state the
                dates and times of such conferences;

         4.     If any pretrial motion is filed by either side, a copy thereof and the supporting brief
                required by the provisions of NECrimR 12.3(b)(1) shall be simultaneously filed.
                Opposing briefs shall be filed within five (5) working days thereafter. The filing
                of briefs may be delayed until after an evidentiary hearing on the motion but only
                upon a written request made within the original time to file a brief and upon order
                of the court. Motions in limine addressed to matters at trial shall be filed no earlier
                than fourteen (14) days before a scheduled trial date, and no later than two (2)
                business days before trial. Any motions filed outside this time period may be
                summarily denied.

         5.     If plea negotiations are to be instituted, they shall be concluded and advice thereof
                given to the trial judge not less than one week prior to trial date;

         6.     Any original application, motion or voucher which is intended to be presented ex

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8:06-cr-00099-JFB-FG3        Doc # 22      Filed: 03/28/06      Page 2 of 2 - Page ID # 32


           parte shall be delivered to the appropriate judicial officer (normally the Magistrate
           Judge), not to the Clerk of the Court, clearly captioned so as to disclose that the
           request is made ex parte, together with a supporting brief stating the basis for ex
           parte consideration;

    7.     Absent good cause shown, any application or motion for an order to produce the
           appearance of an incarcerated witness shall be made sufficiently in advance of the
           time needed for such testimony so as to allow the United States Marshal at least
           fourteen (14) days to arrange for such appearance. Any ex parte application for
           the subpoena of a witness pursuant to Fed. R. Cr. P. 17(b) shall contain the
           satisfactory showing required by said rule and shall be submitted sufficiently in
           advance of the time needed for such testimony so as to allow the United States
           Marshal adequate time in which to serve any subpoena.

    8.     Applications or vouchers pursuant to the Criminal Justice Act for authorization to
           hire third parties, to exceed the amounts set forth in the Criminal Justice Act, or for
           the expenditure of Criminal Justice Act funds shall be submitted on an
           appropriate CJA form available from the Clerk’s Office and supported by
           information necessary for the court to make a decision pursuant to the Criminal
           Justice Act, particularly;

           a.       The name, address and telephone number of the person sought to be
           hired (if applicable);
           b.       A specific statement of the amount sought and the method for
           computing said amount;
           c.       A specific statement setting forth the factual and legal bases which
           support the request;

    9.     Any motion for a continuance or an extension of deadlines shall set forth the
           reasons why the moving party believes that the additional time should be allowed
           by the court and shall justify the additional time with specific references to the
           appropriate provisions(s) of the Speedy Trial Act, 18 U.S.C. § 3161 et seq. Any
           defense motion for continuance or extension of deadlines, whether of the trial date
           or otherwise, shall be supported by a written affidavit of the Defendant stating
           that the Defendant agrees to the requested continuance or extension and
           understands that the additional time may be excludable time for the purpose of
           computing any Speedy Trial Act deadline; if the Defendant believes otherwise, the
           affidavit shall so state.

    10.    The Defendant shall be present at all pretrial arguments or hearings unless excused
           by the court, and if permission is sought to be absent, the Defendant shall deliver
           to the Court in advance an affidavit stating that the Defendant knowingly,
           intelligently and voluntarily gives up the right to attend such argument or hearing.

    DATED this 28th day of March, 2006.

                                          BY THE COURT:


                                          s/ F.A. Gossett
                                          United States Magistrate Judge

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